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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                   )
    In re                                                          )     Chapter 11
                                                                   )
    TOUGH MUDDER INC., et al.,1                                    )     Case No. 20-10036 (CSS)
                                                                   )
                             Debtors.                              )     Jointly Administered
                                                                   )
                                                                   )     RE: D.I. 30
                                                                   )

NOTICE OF FILING OF REVISED PROPOSED ORDER (I) APPROVING THE ASSET
    PURCHASE AGREEMENT BY AND AMONG SPARTAN RACE, INC., AND
 DEBTORS’ CHAPTER 11 TRUSTEE, (II) AUTHORIZING THE PRIVATE SALE OF
 SUBSTANTIALLY ALL OF THE DEBTORS’ ASSETS FREE AND CLEAR OF ALL
  LIENS, CLAIMS, ENCUMBRANCES, AND INTERESTS, (III) APPROVING THE
ASSUMPTION AND ASSIGNMENT OF ASSUMED EVENTS AND CONTRACTS, AND
                    (IV) GRANTING RELATED RELIEF

               PLEASE TAKE NOTICE that, on February 7, 2020, Derek C. Abbott, Esq., the
chapter 11 trustee (the “Trustee”) for Tough Mudder Inc. (“Tough Mudder”) and Tough Mudder
Event Production Inc. (“TM Events” and, together with Tough Mudder, the “Debtors”), filed the
Chapter 11 Trustee’s Motion for Entry of an Order (I) Approving Entry Into and Performance
Under Asset Purchase Agreement by and Among Spartan Race, Inc., and Debtors’ Chapter 11
Trustee, (II) Authorizing the Sale of Substantially All of the Debtors’ Assets Free and Clear of
All Liens, Claims, Encumbrances, and Interests, (III) Approving the Assumption and Assignment
of Certain Contracts and Related Procedures, (IV) Approving the Bid Protections, and (V)
Granting Related Relief [D.I. 30] (the “Sale Motion”).2 Attached to the Sale Motion as Exhibit
A was a proposed form of order granting the relief requested in the Sale Motion (the “Original
Order”).

                PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit A is a
revised proposed form of the Original Order (the “Revised Order”). For the convenience of the
Court and all parties in interest, attached as Exhibit B is a redline comparing the Revised Order
to the Original Order.




1
            The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
            identification number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845).
            The Debtors’ address is 15 MetroTech Center, Brooklyn, NY 12201.
2
            Capitalized terms not defined herein are used as in the Sale Motion.
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Dated: February 24, 2020         MORRIS, NICHOLS, ARSHT & TUNNELL LLP
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                                 Proposed Counsel for Derek C. Abbott, Esq., as Chapter
                                 11 Trustee to Tough Mudder Inc. and Tough Mudder
                                 Event Production Inc.
